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(213) 624-7707
Attorneys for Plaintiff

Los Angeles, California 90017-254f aE

UNITED SPATES
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ATIEL, INC., a Delaware corporation,
Plaintiff,

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‘GREINER & HAUSSER GmbH, a German
business entity; ROLF HAUSSER, an

individual; and DOES 1 through 10, inclusive,

Defendants.

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CASE NO. CV 00-07834 R (AIJx)

NOTICE OF VOLUNTARY
DISMISSAL

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NOTICE OF VOLUNTARY DISMISSAL

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1 NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. P. 41(a)(1)(i),
2.|| plaintiff Mattel, Inc. voluntarily dismisses the above-captioned action against all

3 || defendants without prejudice.

5 || Dated: December 26, 2000

6 QUINN EMANUEL URQUHART OLIVER &
HEDGES, LLP

8 . .
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9 Edith Ramirez

Attorneys for Plaintiff

10 Mattel, Inc.

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NOTICE OF VOLUNTARY DISMISSAL

